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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

MATTHEW ORSO AS SUCCESSOR
TRUSTEE TO KENNETH D. BELL IN
HIS CAPACITY AS COURT-
APPOINTED RECEIVER FOR REX
VENTURE GROUP, LLC,

        Plaintiff,

v.                                                                    Case No: 5:21-mc-8-JSM-PRL


HOLLI ROVENGER,

        Defendant.


                                 REPORT AND RECOMMENDATION 1

        This matter is before the court on the motion of Plaintiff, Nationwide Judgment

Recovery Inc. as assignee of Matthew Orso, as successor trustee to Kenneth D. Bell in his

capacity as court-appointed receiver for Rex Venture Group, LLC, for final judgment in

garnishment as to Garnishee Wells Fargo Bank N.A. (Doc. 17). For the reasons explained

below, I recommend that the motion be granted.

        I.      BACKGROUND

        On August 14, 2017, the United States District Court for the Western District of North

Carolina entered a Final Judgment in favor of the plaintiff against each individual member of




        1  Within 14 days after being served with a copy of the recommended disposition, a party may file
written objections to the Report and Recommendation’s factual findings and legal conclusions. See Fed.
R. Civ. P. 72(b)(3); Fed. R. Crim. P. 59(b)(2); 28 U.S.C. § 636(b)(1)(B). A party’s failure to file written
objections waives that party’s right to challenge on appeal any unobjected-to factual finding or legal
conclusion the district judge adopts from the Report and Recommendation. See 11th Cir. R. 3-1.
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a Defendant class, including Holli Rovenger. (Doc. 1). On April 19, 2021, the judgment was

registered with this Court. (Doc. 1). Plaintiff moved for a writ of garnishment to satisfy the

outstanding judgment, and believed that Wells Fargo Bank N.A. has in its possession and

control certain monies or property belonging to the defendant sufficient to satisfy the

judgment in whole or in part.

       On June 14, 2021, the writ of garnishment was issued to Wells Fargo Bank N.A. On

July 19, 2021, Plaintiff, pursuant to Florida Statute § 77.041 gave notice of serving the writ of

garnishment with a copy of the motion for writ of garnishment, the writ of garnishment and

notice to Defendant. Garnishee filed its Answer to the writ, disclosing that at the time of

service of the writ of garnishment, it (Wells Fargo Bank, N.A.) was indebted to Defendant in

the amount of $2,208.72. (Doc. 13). On September 13, 2021, pursuant to § 77.055, counsel

for Plaintiff gave notice of the Answer together with the statutorily required notice to

Judgment Debtor. (Doc. 16). Defendant has not responded to the writ of garnishment or

Answer.

       II.     DISCUSSION

       Florida's procedure in aid of execution governs in the instant case. See Fed. R. Civ. P.

69. Chapter 77 of the Florida Statutes prescribes the procedure for issuance and enforcement

of writs of garnishment. Florida law requires garnishment statutes to be strictly construed.

Gigliotti Contracting North, Inc. v. Traffic Control Products of North Florida, Inc., 788 So.2d 1013,

1016 (Fla. 2d DCA 2001).

       The Answer (Doc. 13) establishes the amount Wells Fargo Bank, N.A. held from

Defendant after the writ of garnishment was served and before the Answer. Because

Defendant has not moved to dissolve the writ of garnishment, Plaintiff requests entry of a



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final judgment of garnishment against Wells Fargo Bank, N.A. in the amount of $2,208.72.

Neither the Judgment Debtor nor any other party has responded, objected, or moved to

dissolve the writ within the 20 days allowed by § 77.055. Plaintiff has met the statutory

requirements for a judgment of garnishment.

       III.   RECOMMENDATION

       Accordingly, it is recommended that the motion for final judgment in garnishment as

to Wells Fargo Bank, N.A. (Doc. 17) be GRANTED.

       DONE and ORDERED in Ocala, Florida on October 28, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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